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                                                                                      N.Y.S.D. Case #



MANDATE
                              UNITED STATES COURT OF APPEALS                          14-cr-0068(KBF)
                                            FOR THE
                                       SECOND CIRCUIT
                         ______________________________________________

             At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
     Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
     31st day of May, two thousand and seventeen.

     Before:     Jon O. Newman,
                 Gerard E. Lynch,                               USDC SDNY
                 Christopher F. Droney,
                        Circuit Judges.
                                                                DOCUMENT
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     United States of America,                                  DATE FILED: Sept. 06, 2017
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                  Appellee,
                                                               JUDGMENT
     v.                                                        Docket No. 15-1815

     Ross William Ulbricht, AKA Dread Pirate
     Roberts, AKA Silk Road, AKA Sealed
     Defendant 1, AKA DPR,

                Defendant - Appellant.
     _______________________________________


             The appeal in the above captioned case from a judgment of the United States District Court
     for the Southern District of New York was argued on the district court’s record and the parties’
     briefs. Upon consideration thereof,

             IT IS HEREBY ORDERED, ADJUDGED and DECREED that the judgment of the district
     court is AFFIRMED.


                                                  For The Court:

                                                  Catherine O=Hagan Wolfe,
                                                  Clerk of Court




MANDATE ISSUED ON 09/06/2017
